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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re:                                                         )       Chapter 11
                                                                   )
                                           1
    PGX HOLDINGS, INC, et al.,                                     )       Case No. 23-10718 (CTG)
                                                                   )
                                         Debtors.                  )       (Jointly Administered)
                                                                   )

                       AMENDED NOTICE OF AGENDA OF MATTERS SCHEDULED
                          FOR HEARING FOR JULY 31, 2023 AT 1:00 P.M. (ET)

This hearing will be conducted in-person in Courtroom #7, 3rd Floor. All parties, including witnesses, are expected
to attend in person unless permitted to appear via Zoom. Participation at the in-person court proceeding using
Zoom is allowed only in the following circumstances: (i) a party who files a responsive pleading intends to make
only a limited argument; (ii) a party who has not submitted a pleading but is interested in observing the hearing;
or (iii) other extenuating circumstances as determined by Judge Goldblatt. All participants over Zoom must
register in advance. Please register via the Zoom link below no later than July 28, 2023 at 4:00 p.m.:
       https://debuscourts.zoomgov.com/meeting/register/vJItcuqsqDMoHfVAuocR6PF8jwOucHErS1w
After registering your appearance by Zoom, you will receive a confirmation email containing information about
joining the hearing.

                                                        CONTESTED MATTERS:

1.           Motion of Debtors Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
             Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
             Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, (VI)
             Scheduling a Final Hearing, and (IV) Granting Related Relief [Docket No. 17; Filed 6/5/2023]

             Related Documents:

                     A.        Declaration of Chad Wallace, Chief Executive Officer of PGX Holdings, Inc., in
                               Support of Debtors' Chapter 11 Petitions and First Day Motions [Docket No. 12;
                               Filed 6/4/2023]

                     B.        Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing
                               and (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority
                               Administrative Expense Claims, (III) Granting Adequate Protection, (IV)
                               Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting
                               Related Relief [Docket No. 70; Filed 6/6/2023]

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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: PGX
      Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580); Creditrepair.com Holdings, Inc. (7536);
      Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213); eFolks, LLC (5256); John C. Heath, Attorney At Law PC (8362);
      Progrexion ASG, Inc. (5153); Progrexion Holdings, Inc. (7123); Progrexion IP, Inc. (5179); Progrexion Marketing, Inc. (5073); and
      Progrexion Teleservices, Inc. (5110). The location of the Debtors’ service address for purposes of these chapter 11 cases is: 257 East
      200 South, Suite 1200, Salt Lake City, Utah 84111.


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                  C.   Omnibus Notice of Second Day Hearing to Be Held on June 28, 2023 at 2:00 p.m.
                       (ET) [Docket No. 74; Filed 6/7/2023]

                  D.   Debtors’ Witness and Exhibit List for Hearing Scheduled for July 31, 2023 at 1:00
                       p.m. [Docket No. 242; Filed 7/27/2023]

                  E.   Notice of Proposed Final Order Regarding DIP Financing and Cash
                       Collateral [Docket No. 246; Filed 7/28/2023]

        Response Deadline:    June 21, 2023 at 4:00 p.m.; extended solely for the Official Committee of
                              Unsecured Creditors to July 17, 2023 at 4:00 p.m.

        Responses Received:

                  A.   Preliminary Omnibus Objection and Reservation of Rights of Official Committee
                       of Unsecured Creditors to the Debtors’ DIP Financing Motion and Bidding
                       Procedures Motion [Docket No. 153; Filed 7/17/2023]

                  B.   Reply of Debtors in Support of Motion of Debtors Seeking Entry of Interim and
                       Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and
                       (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative
                       Expense Claims, (III) Modifying the Automatic Stay, (VI) Scheduling a Final
                       Hearing, and (IV) Granting Related Relief [Docket No. 191; Filed 7/19/2023]

                  C.   Blue Torch Finance LLC’s (I) Joinder to Reply of Debtors in Support of DIP
                       Motion, (II) Joinder to Reply of Debtors in Support of the Bidding Procedures
                       Motion, and (III) Reservation of Rights [Docket No. 238; Filed 7/26/2023]

                  D.   Statement of Prospect Capital Corporation Regarding Preliminary Omnibus
                       Objection and Reservation of Rights of Official Committee of Unsecured
                       Creditors to the Debtors' DIP Financing Motion and Bidding Procedures Motion
                       [Docket No. 239; Filed 7/26/2023]

        Status:        This matter is going forward.

2.      Motion of Debtors for Entry of Orders (I)(A) Approving Bidding Procedures for Substantially
        All of the Debtors’ Assets, (B) Authorizing the Debtors to Enter into One or More Stalking Horse
        Agreements and to Provide Bidding Protections Thereunder, (C) Scheduling an Auction and
        Approving the Form and Manner of Notice Thereof, (D) Approving Assumption and Assignment
        Procedures, and (E) Scheduling a Sale Hearing and Approving the Form and Manner of Notice
        Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
        Interests and Encumbrances and (B) Approving the Assumption and Assignment of Executory
        Contracts and Unexpired Lease; and (III) Granting Related Relief [Docket No. 66; Filed
        6/6/2023]




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        Related Documents:

              A.     Declaration of Chad Wallace, Chief Executive Officer of PGX Holdings, Inc., in
                     Support of Debtors' Chapter 11 Petitions and First Day Motions [Docket No. 12;
                     Filed 6/4/2023]

              B.     Declaration of Neil A. Augustine In Support of the Debtors’ Motion for Entry of
                     Orders (I)(A) Approving Bidding Procedures for Substantially All of the Debtors’
                     Assets, (B) Authorizing the Debtors to Enter into One or More Stalking Horse
                     Agreements and to Provide Bidding Protections Thereunder, (C) Scheduling an
                     Auction and Approving the Form and Manner of Notice Thereof, (D) Approving
                     Assumption and Assignment Procedures, and (E) Scheduling a Sale Hearing and
                     Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale
                     of the Debtors’ Assets Free and Clear of Liens, Claims, Interests and
                     Encumbrances and (B) Approving the Assumption and Assignment of Executory
                     Contracts and Unexpired Lease; and (III) Granting Related Relief [Docket No.
                     67; Filed 6/6/2023]

              C.     Declaration of Elise S. Frejka, CIPP/US, In Support of Motion of Debtors for
                     Entry of Orders (I)(A) Approving Bidding Procedures for Substantially All of the
                     Debtors’ Assets, (B) Authorizing the Debtors to Enter into One or More Stalking
                     Horse Agreements and to Provide Bidding Protections Thereunder, (C)
                     Scheduling an Auction and Approving the Form and Manner of Notice Thereof,
                     (D) Approving Assumption and Assignment Procedures, and (E) Scheduling a
                     Sale Hearing and Approving the Form and Manner of Notice Thereof; (II)(A)
                     Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
                     Interests and Encumbrances and (B) Approving the Assumption and Assignment
                     of Executory Contracts and Unexpired Lease; and (III) Granting Related Relief
                     [Docket No. 68; Filed 6/6/2023]

              D.     Notice of Revised Proposed Order Regarding Bidding Procedures Motion
                     [Docket No. 192; Filed 7/19/2023]

              E.     Debtors’ Witness and Exhibit List for Hearing Scheduled for July 31, 2023 at 1:00
                     p.m. [Docket No. 242; Filed 7/27/2023]

              F.     Notice of Intent of the Official Committee of Unsecured Creditors to Offer
                     Witness Testimony and Exhibits at July 31, 2023 Hearing [Docket No. 244;
                     Filed 7/27/2023]

        Response Deadline:    June 21, 2023 at 4:00 p.m.; extended solely for the Consumer Financial
                              Protection Bureau to June 27, 2023 at 5:00 p.m. and for the Official
                              Committee of Unsecured Creditors to July 17, 2023 at 4:00 p.m.

        Responses Received:

              A.     United States Trustee’s Objection to Motion of Debtors for Entry of Orders (I)(A)
                     Approving Bidding Procedures for Substantially All of the Debtors’ Assets, (B)

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                       Authorizing the Debtors to Enter into One or More Stalking Horse Agreements
                       and to Provide Bidding Protections Thereunder, (C) Scheduling an Auction and
                       Approving the Form and Manner of Notice Thereof, (D) Approving Assumption
                       and Assignment Procedures, and (E) Scheduling a Sale Hearing and Approving
                       the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the
                       Debtors’ Assets Free and Clear of Liens, Claims, Interests and Encumbrances and
                       (B) Approving the Assumption and Assignment of Executory Contracts and
                       Unexpired Lease; and (III) Granting Related Relief [Docket No. 101; Filed
                       6/21/2023]

                  B.   Reply of Debtors in Support of Motion of Debtors for Entry of Orders (I)(A)
                       Approving Bidding Procedures for Substantially All of the Debtors’ Assets, (B)
                       Authorizing the Debtors to Enter into One or More Stalking Horse Agreements
                       and to Provide Bidding Protections Thereunder, (C) Scheduling an Auction and
                       Approving the Form and Manner of Notice Thereof, (D) Approving Assumption
                       and Assignment Procedures, and (E) Scheduling a Sale Hearing and Approving
                       the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the
                       Debtors’ Assets Free and Clear of Liens, Claims, Interests and Encumbrances and
                       (B) Approving the Assumption and Assignment of Executory Contracts and
                       Unexpired Lease; and (III) Granting Related Relief [Docket No. 190; Filed
                       7/19/2023]

                  C.   Blue Torch Finance LLC’s (I) Joinder to Reply of Debtors in Support of DIP
                       Motion, (II) Joinder to Reply of Debtors in Support of the Bidding Procedures
                       Motion, and (III) Reservation of Rights [Docket No. 238; Filed 7/26/2023]

        Status:        The Debtors have resolved the objection of the Office of the United States
                       Trustee. This matter is going forward with respect to the objection of the
                       Official Committee of Unsecured Creditors.

3.      Debtors’ Application for Entry of Order (I) Authorizing the Employment and Retention of
        Greenhill & Co., LLC as Financial Advisor and Investment Banker to the Debtors and Debtors
        in Possession, Effective as of Petition Date, and (II) Granting Related Relief [Docket No. 124;
        Filed 6/30/203]

        Related Documents:

                  A.   Reply in Support of Debtors’ Application for Entry of Order (I) Authorizing the
                       Employment and Retention of Greenhill & Co., LLC as Financial Advisor and
                       Investment Banker to the Debtors and Debtors in Possession, Effective as of
                       Petition Date, and (II) Granting Related Relief [Docket No. 206; Filed 7/19/2023]

                  B.   Debtors’ Witness and Exhibit List for Hearing Scheduled for July 31, 2023 at 1:00
                       p.m. [Docket No. 242; Filed 7/27/2023]

                  C.   Supplemental Declaration of Neil A. Augustine in Support of Debtors’
                       Application for Entry of Order (I) Authorizing the Employment and
                       Retention of Greenhill & Co., LLC as Financial Advisor and Investment

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                       Banker to the Debtors and Debtors in Possession, Effective as of Petition
                       Date, and (II) Granting Related Relief [Docket No. 247; Filed 7/28/2023]

        Response Deadline:    July 14, 2023 at 4:00 p.m. extended solely for the Office of the US Trustee
                              to July 18, 2023 at 4:00 p.m. and for the Official Committee of Unsecured
                              Creditors to July 17, 2023 at 4:00 p.m. Responses Received:

                  A.   Preliminary Objection and Reservation of Rights of Official Committee of
                       Unsecured Creditors to Retention Application for Greenhill & Co., LLC [Docket
                       No. 155; Filed 7/17/2023]

        Status:        This matter is going forward.

Dated: July 28, 2023
Wilmington, Delaware

/s/ Michael W. Yurkewicz
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BRANZBURG LLP                                          KIRKLAND & ELLIS INTERNATIONAL LLP
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